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                  In the United States Court of Federal Claims
                                     OFFICE OF SPECIAL MASTERS
                                          Filed: August 29, 2022

* * * * * * *                    * *     * *     * *
TIMOTHY KOLLER,                                    *                    PUBLISHED
                                                   *
                   Petitioner,                     *                    No. 16-439V
                                                   *
v.                                                 *
                                                   *                    Special Master Gowen
SECRETARY OF HEALTH                                *
AND HUMAN SERVICES,                                *                    Decision on Damages; Proffer;
                                                   *                    Guillain-Barre Syndrome (“GBS”);
                   Respondent.                     *                    Pneumococcal Conjugate
                                                      *                 Vaccination (“Prevnar”)
*    *   *    *    *   *   *     *   *   *   *   *    *
Maximillian J. Muller, Muller Brazil, LLP, Dresher, PA, for petitioner.
Dhairya D. Jani, U.S. Department of Justice, Washington, D.C., for respondent.

                                         DECISION ON DAMAGES1

        On April 6, 2016, Timothy Koller (“petitioner”) filed a petition for compensation under
the National Vaccine Injury Compensation Program. 2 Petitioner alleged that the pneumococcal
conjugate vaccination (“Prevnar 13” or “Prevnar”) he received on May 13, 2015 was the cause -
in-fact of his Guillain-Barré Syndrome (“GBS”). On October 8, 2021, I issued a Ruling on
Entitlement, finding that petitioner established he suffered GBS as a result of the Prevnar vaccine
and was entitled to compensation. Ruling on Entitlement (ECF No. 70).




1
  In accordance with the E-Government Act of 2002, 44 U.S.C. § 3501 (2012), because this opinion contains a
reasoned explanation for the action in this case, this opinion will be posted on the website of the United States
Court of Federal Claims. This means the opinion will be available to anyone with access to the internet. As
provided by 42 U.S.C. § 300aa-12(d)(4)B), however, the parties may object to the published Decision’s inclusion of
certain kinds of confidential information. Specifically, under Vaccine Rule 18(b), each party has 14 days within
which to request redaction “of any information furnished by that party: (1) that is a trade secret or commercial or
financial in substance and is privileged or confidential; or (2) that includes medical files or similar files, the
disclosure of which would constitute a clearly unwarranted invasion of privacy.” Vaccine Rule 18(b). If neither
party files a motion for redaction within 14 days, the entire opinion will be posted on the website and available
to the public in its current form. Id.
2
 The National Vaccine Injury Compensation Program is set forth in Part 2 of the National Childhood Vaccine
Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended, 42 U.S.C. §§ 300aa-10 to 34 (2012)
(hereinafter “Vaccine Act” or “the Act”). Hereinafter, individual section references will be to 42 U.S.C. § 300aa of
the Act.
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       On August 29, 2022, respondent filed a Prof fer of Award of Compensation, which
indicates petitioner’s agreement to compensation on the terms set forth therein. Proffer (ECF
No. 85). The proffer is attached hereto as Appendix A.
       Consistent with the terms in the attached Proffer, I hereby award the following in
compensation for all damages that would be available under 42 U.S.C. § 300aa -15(a):

        1) A lump sum payment of $127,500.00 in pain and suffering, in the form of a
           check payable to petitioner.

       The Clerk of the Court is directed to ENTER JUDGMENT in accordance with this
decision.3

        IT IS SO ORDERED.

                                                                      s/Thomas L. Gowen
                                                                      Thomas L. Gowen
                                                                      Special Master




3
 Entry of judgment is expedited by each party’s filing notice renouncing the right to seek review. Vaccine Rule
11(a).
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               IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                         OFFICE OF SPECIAL MASTERS

*****************************
                            *
TIMOTHY KOLLER,             *
                            *
              Petitioner,   *
                            *
v.                          *                               No. 16-439V (ECF)
                            *                               SPECIAL MASTER
                            *                               THOMAS L. GOWEN
SECRETARY OF HEALTH         *
AND HUMAN SERVICES,         *
                            *
              Respondent.   *
*****************************

            RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

       On April 6, 2016, Timothy Koller (“petitioner”) filed a petition for compensation under

the National Childhood Vaccine Injury Act of 1986, as amended (“the Vaccine Act” or “the

Act”), 42 U.S.C. §§ 300aa-1 to –34. Petitioner alleges that he suffered Guillain-Barré syndrome

that was caused by his receipt of a pneumococcal conjugate vaccination on May 13, 2015.

Petition, ECF No. 1.

       On March 8, 2017, respondent filed his Rule 4(c) report recommending against

compensation. Respondent’s Report, ECF No. 26. On October 8, 2021, the Special Master

issued a Ruling on Entitlement, finding that petitioner is entitled to compensation. ECF No. 70.

Respondent now proffers the following regarding the amount of compensation to be awarded. 1




1
  The parties have no objection to the amount of the proffered award of damages. However,
respondent reserves his right, pursuant to 42 U.S.C. § 300aa-12(e), to seek review of the Special
Master’s October 8, 2021 ruling on entitlement, finding petitioner entitled to an award under the
Vaccine Act. This right accrues following issuance of the damages decision.
                                                1
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I.        Amount of Compensation

       Respondent proffers that petitioner should be awarded $127,500.00 in pain and suffering.

See 42 U.S.C. § 300aa-15(a)(4). Petitioner agrees. This amount represents all elements of

compensation to which petitioner would be entitled under 42 U.S.C. § 300aa-15(a). Petitioner

agrees.

II.       Form of the Award

          Petitioner is a competent adult. Evidence of guardianship is not required in this case.

Respondent recommends that the compensation provided to petitioner should be made through a

lump sum payment as described below and requests that the Special Master’s decision and the

Court’s judgment award the following 2: a lump sum payment of $127,500.00, in the form of a

check payable to petitioner.

III.      Summary of Recommended Payments Following Judgment

          Lump sum payable to petitioner, Timothy Koller:                      $127,500.00



                                                Respectfully submitted,

                                                BRIAN M. BOYNTON
                                                Principal Deputy Assistant Attorney General

                                                C. SALVATORE D’ALESSIO
                                                Acting Director
                                                Torts Branch, Civil Division

                                                HEATHER L. PEARLMAN
                                                Deputy Director
                                                Torts Branch, Civil Division




2
  Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future lost earnings
and future pain and suffering.
                                                   2
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                                   LARA A. ENGLUND
                                   Assistant Director
                                   Torts Branch, Civil Division

                                   /s/ DHAIRYA D. JANI
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Dated: August 29, 2022




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